Case 1:04-cv-10981-PBS Document 12-10 Filed 12/15/04 Page 1 of 16

Exhibit H
Case 1:04-cv-10981-PBS Document 12-10 Filed 12/15/04 Page 2 of 16

IN RE NEURONTIN MARKETING AND
SALES PRACTICES LITIGATION

MDL Docket No. 1629

Master File No. 04-10981

THIS DOCUMENT RELATES TO:

ALL ACTIONS Judge Patti B. Saris

Newmar ee ne ee ee”

DECLARATION OF RICHARD W. COHEN IN SUPPORT OF
APPOINTMENT TO PLAINTIFFS’ STEERING COMMITTEE

I, Richard W. Cohen, depose and state as follows:

1. I am a shareholder and officer of the law firm of Lowey Dannenberg Bemporad &
Selinger, P.C. (“LDBS”) where I have practiced law since 1998. Attached hereto is a copy of my
firm’s resume. I have fuil knowledge of the matters stated herein and would testify thereto.

2. In 1977 I was graduated with a bachelor’s degree from Georgetown University’s
College of Arts and Sciences, and in 1980 I was graduated from New York University School of
Law with a J.D. I have practiced law continuously since 1980, and have been a partner or
principal of three law firms since 1987, Iam rated “AV” by Martindale-Hubbell. I am a member
of the bars of the States of New York and Pennsylvania, the United States Courts of Appeal for
the Second, Third, Sixth, and Eleventh Circuits, and the United States District Courts for the
Southern and Eastern Districts of New York, and the Eastern District of Pennsylvania. I have
been admitted pro hac vice in cases before numerous other states and federal trial courts,
including Jn Re Lupron Marketing and Sales Practice Litig., MDL No. 1430, (Hon. Richard G.

Stearns), a prescription drug cost-recovery case pending before the United States District Court

for the District of Massachusetts.

1825 / AFF / 00070541.WPD v1
Case 1:04-cv-10981-PBS Document 12-10 Filed 12/15/04 Page 3 of 16

3. My firm and I have extensive experience prosecuting and defending complex
commercial litigation, including multi-district class action litigation. I lead a group of four
lawyers at LDBS who dedicate the majority of their practice to prescription drug overcharge

recovery litigation, primarily for third party payer health insurers. My experience in this field

includes the following relevant matters:

. In re Cardizem CD Antitrust Litig., MDL No. 1278 (E.D.
Mich.) (Hon. Nancy G. Edmonds}. LDBS initiated these
lawsuits, LDBS served as co-lead counsel, and I was
LDBS?’ lead attorney for the prosecution of end payer
(consumers and third party payers) class action lawsuits in
this prescription drug antitrust case. For a history of the
case and LDBS’ role, see In re Cardizem CD Antitrust
Litig., 218 F.R.D, 508, 511-515 (E. D. Mich. 2003) (appeal
dismissed Dec. 14, 2004) (approving $80 million end payer
class settlement). In the course of six years of intensive
litigation, we achieved several landmark victories,
including a partial summary judgment of per se antitrust
liability against defendants, which was unanimously
affirmed by the Sixth Circuit Court of Appeals, in re
Cardizem CD Antitrust Litig., 332 F.3d 896 (6" Cir. 2003),
and certification of a litigation class of end payers to
prosecute antitrust claims under state law, In re Cardizem
CD Antitrust Litig., 200 F.R.D. 326 (E.D. Mich. 2001). I
argued the class certification motion and both appeals for
the class. Aetna, Inc., LDBS’ client in the Neurontin case
before this Court, was our client and served as a class
representative in Cardizem CD.

* In re Terazosin Hydrochloride Antitrust Litig., MDL No. 1317
(U.S.D.C., 8.D. Fla.) (Hon. Patricia A. Seitz). LDBS is co-lead
counsel (and I am LDBS’ lead attorney) for a certified 17-state
litigation class of end payers (consumers and third party payers)
who allege they overpaid for the prescription drug Hytrin. In Re
Terazosin Hydrochloride Antitrust Litig., 220 F.R.D. 672 (S.D.
Fla. 2004) (appeal pending). I argued the class certification motion
at two hearings held by the district court.

. In re Rezulin Products Liability Litig., MDL No. 1348 (U.S.D.C.
S.D.N.Y.) (Hon, Lewis A. Kaplan}. LDBS is counsel for plaintiff
representatives of a putative class of U.S. health insurers against
Pfizer Inc.’s subsidiary, Warner Lambert Company, to recover

1825 ¢ AFF / 00070541.WPD v1 2
Case 1:04-cv-10981-PBS Document 12-10 Filed 12/15/04 Page 4 of 16

monies paid for the diabetes drug Rezulin, which was withdrawn
from the U.S. market in 2000. In 2003, the United States Court of
Appeals for the Second Circuit reversed the district court’s
dismissal of this deceptive trade practices class action case, holding
that health insurers have direct standing to sue as the buyers of the
prescription drugs their insureds use. I argued the appeal for the
appellants. Desiano v. Warner Lambert Company, 326 F.3d 339
(2d Cir. 2003).

. In re Warfarin Sodium Antitrust Litig.. MDL No. 1232
(U.S.D.C., D.Del.) (Hon. Sue L. Robinson). LDBS was appointed
by the district court to a five-member plaintiffs’ Executive
Committee, as the representative of third party payer members of
an end payer class prosecuting claims of unfair marketing practices
in connection with the prescription blood thinner Coumadin. I
represented LDBS on the Executive Committee. On December 8,
2004, the United States Court of Appeals for the Third Circuit
unanimously affirmed the final approval by the United States
District Court for the District of Delaware of a $44.5 million class
action settlement paid by DuPont Pharmaceuticals. In re Warfarin
Sodium Antitrust Litig. 2004 WL 2809797 (3d Cir. Dec. 8, 2004).

I argued the settlement approval motion and the appeal on behalf of
third party payers.

* In re Lorazepam and Clorazepate Antitrust Litig., MDL No. 1290
(U.S.D.C., D.D.C.) (Hon. Thomas F. Hogan). LDBS was lead
counsel for a class consisting of health insurers in 19 states and the
District of Columbia , and I was LDBS’ lead attorney on this case.
In 2002, following a contested settlement hearing, the United
States District Court for the District of Columbia approved a $25.3
million settlement with Mylan Laboratories, Inc., settling claims
for overcharges paid by health insurers for generic versions of the
prescription drugs lorazepam and clorazepate. I argued the motion
for approval of the settlement. In Re Lorazepam and Clorazepate
Antitrust Litig., 205 F.R.D. 369 (D.D.C. 2002)

4. On behalf of LDBS, I have also represented large groups of health insurers and
self-funded employer health benefit plans in prescription drug cost recovery cases, and have
negotiated settlements on their behalf as opt-out groups, separately from, but cooperatively with,

settlement classes. In each of these cases, the class settlement agreement filed with the presiding

court identifies LDBS as counsel for independently-represented settling third party payers.

1825 / AFF / 00070541.WPD v1 3
Case 1:04-cv-10981-PBS Document 12-10 Filed 12/15/04 Page 5 of 16

* In re Buspirone Antitrust Litig. (Buspar), MDL No. 1413 (S.D.NLY.)
(Hon. John G. Koeltl).

* Vista Heaithplan, Inc. v. Bristol (Taxol), Civil Action No. 1:01 CV
01295 (D.D.C.} (Hon. Emmet G. Sullivan)

. In re Relafen Antitrust Litig., Master File No. 01-CV-12239 (D.Mass.)
(Hon. William G. Young)

. In re Lupron Marketing and Sales Practices Litig., MDL No. 1430
(D.Mass.) (Hon. Richard G. Stearns)

5. LDBS represents Aetna, Inc., one of the largest health insurers in the United
States, in the action filed and pending in this Court and now part of the MDL proceedings. My
firm is also advising other health insurers and self-funded plans with respect to their potential

claims for overcharges paid for Neurontin.

I declare under penalty of perjury that the foregoing is true and correct.

Dated: December 14, 2004

RICHARD W. COHEN

1825 AFF /00070541.WPD v1 4
Case 1:04-cv-10981-PBS Document 12-10 Filed 12/15/04 Page ®a%eIGf7

Biographies printer friendly format

The attorneys of Lowey Dannenberg possess an enormous
breadth of experience. Attorneys of the firm act as court
appointed Federal mediators and are regularly featured as
writers and speakers on securities and consumer matters.

RICHARD B. DANNENBERG STACEY E. BLAUSTEIN

STEPHEN LOWEY JEANNE D'ESPOSITO
RICHARD BEMPORAD VINCENT BRIGANTI

NEIL L. SELINGER GEOFFREY HORN

DAVID C. HARRISON TODD S. GARBER
RICHARD W. COHEN SCOTT V. PAPP

THOMAS M. SKELTON DEBORAH A. ROGOZINSKI

PETER D. ST. PHILLIP, JR.

RICHARD B. DANNENBERG, born New York, NY., January 10,
1931; admitted to bar, 1955, New York; 1957, U.S. District
Court, Southern and Eastern Districts of New York; 1959, U.S.
Court of Appeals, Second Circuit; 1961, U.S. Supreme Court;
1978, U.S. Court of Appeals, Fifth Circuit; 1984, U.S. Court of
Appeals, Eleventh Circuit; 1987, U.S. Court of Appeals, Third
Circuit and U.S. District Court, District of Connecticut; 1989, U.S.
Court of Appeals, First Circuit; Federal Court Mediator, U.S.
District Court, Southern District of New York, 1996-.

Education: Duke University (A.B. magna cum laude, 1952); Yale
University (LL.B., 1955); Phi Beta Kappa.

Adjunct Professor, Pace University School of Law, advisor to the
Securities Arbitration Clinic; member of Advisory Council, Pace
Investor Rights Project. NASD and NYSE arbitrator.

Member: The Association of the Bar of the City of New York
(Member, Committees on: State Courts of Superior Jurisdiction,
1968-1972; Federal Courts, 1974-1977); New York State and
American Bar Associations; Federal Bar Council.

Email: rdannenberg@Idbs.com

back to top

STEPHEN LOWEY, born New York, N.Y., January 26, 1933;
admitted to bar, 1959, New York; 1961, U.S. District Court,
Southern and Eastern Districts of New York and U.S. Court of
Appeals, Second Circuit; 1981, U.S. Court of Appeals, Fourth
Circuit; 1986, U.S. Court of Appeals, Third Circuit; 1992, U.S.
District Court, Northern District of New York; Federal Court
Mediator U.S. District Court, Southern District of New York,
1996-.

http://www.ldbs.com/bios.htm 12/13/2004
Case 1:04-cv-10981-PBS Document 12-10 Filed 12/15/04 Page Pafebot7

Education: Harvard University (A.B., cum laude, 1955);
Columbia University (LL.B., 1958). Assistant U.S. Attorney,
Eastern District of New York, 1961-1964. Arbitrator, American
Stock Exchange, Inc., 1979-1987. Author: "Going Private in New
York: A Need for Legislation," New York Law Journal, 1984.
Panelist: "Professional Liability of Auditors and Lawyers Arising
Out of the Insolvency of Financial Institutions," International Bar
Association, Biennial Conference, 1992; "Current Problems in
Federal Civil Procedure," Practicing Law Institute, 1986;
"Securities Litigation: Prosecution and Defense Strategies,"
"Practicing Law Institute, 1985; "Class Actions and Derivative
Suites in the Aftermath of Control Contests and Mergers and
Acquisitions," American Bar Association, Section of Litigation,
1984 Annual Meeting.

Member: The Association of the Bar of the City of New York
(Member, Committee on Federal Courts, 1983-1986); Queens
County (Chairman, Committee on Federal Practice, 1976-1978)
and American (Chairman, Committee on Class Actions, General
Practice Section, 1981} Bar Associations.

Email: slowey@Idbs.com

back to top

RICHARD BEMPORAD, born Miami Beach, Florida, September
2, 1950: admitted to bar, 1976, New York and U.S. District
Court, Southern and Eastern Districts of New York; 1983, U.S.
Court of Appeals, Second Circuit; 1987, U.S. District Court,
District of Connecticut; 1996, U.S. District Court, Eastern District
of Michigan, Central District of Illinois.

Education: State University of New York at Buffalo (B.A., summa
cum laude, 1972); Columbia University (J.D., 1975), Phi Beta
Kappa, Harlan Fiske Stone Scholar. Panelist and Author:
"Securities Litigation, Practicing Law Institute, 1989, 1990, 1992,
1997-2004. Panelist and Author, Association of the Bar
Securities Litigation, 2001-03. Author: "Circuit Court Ruling
Resolves Claims Issue Under Rule 10b-5," New York Law
Journal 1, Col. 2, Oct. 20, 1980; "Injunctive Relief in SEC Civil
Actions: The Scope of Judicial Discretion," "10 Columbia Law
Journal and Social Problems 328, 1974.

Member: The Association of the Bar of the City of New York
(Member, Committee on Federal Courts, 1986-1989); New York
State and American Bar Associations.

Email: rbemporad@!dbs.com

back to top

http://www.ldbs.com/bios.htm 12/13/2004
Case 1:04-cv-10981-PBS Document 12-10 Filed 12/15/04 Page ®ajleBtof 7

NEIL L. SELINGER, born Long Branch, New Jersey, October
22, 1953; admitted to bar, 1979, New York and U.S. District
Court, Southern and Eastern Districts of New York; 1981, U.S.
Court of Appeals, Fourth and Tenth Circuits; 1984, U.S. Court of
Appeals, Eleventh Circuit; 1990, U.S. Court of Appeals, Second
Circuit; 1992, U.S. District Court, District of Connecticut.

Education: Columbia University (B.A., 1975}; New York
University (J.D., 1978). Panelist, “Complying With Your
Fiduciary Obligations as a Public Fund Board Member,” Fire and
Police Pension Funds Forum, 2000; “Fiduciary Responsibilities:
Keeping Your Board and Yourself Honest,” Public Fund Boards
Forum, 2000; “Maximizing Return on Class Action Litigation,”
Public Funds Summit, 2001; “Investment Litigation By Pension
Funds 201,” Council of Institutional Investors, 2001. Member:
The Association of the Bar of the City of New York; New York
State and American Bar Asscciations; National Association of
Public Pension Attorneys.

Email: nselinger@ldbs.com

back to top

DAVID C. HARRISON, born Philadelphia, Pennsylvania,
February 23, 1955; admitted to bar, 1981, New York and U.S.
District Court, Southern District of New York; 1984, U.S. Court of
Appeals, Eighth Circuit; 1986, U.S. Court of Appeals, Seventh
and Eleventh Circuits; 1987, U.S. Court of Appeals, Second
Circuit.

Education: Villanova University (B.A., 1977); New York
University (J.D. 1980; LL. M. 1993). Phi Kappa Phi.

Member: The Association of the Bar of the City of New York;
New York County Lawyers Association.

Email: dharrison@!dbs.com

back to top

RICHARD W. COHEN, born Pittsburgh, Pennsylvania, June 23,
1954; admitted to bar, 1981, New York; 1984, U.S. District
Court, Southern and Eastern Districts of New York: 1989,
Pennsylvania; 1995, U.S. Court of Appeals, Second Circuit;
1996 U.S. District Court, Eastern District of Pennsylvania and
U.S. Court of Appeals, Third Circuit; 1999, U.S. District Court,
Eastern District of Michigan; 2001, U.S. Court of Appeals, Sixth
Circuit; 2004, U.S. Court of Appeals, Eleventh Circuit.

Education: Georgetown University (A.B., 1977); New York
University (J.D., 1980). Panelist: Health Care Antitrust Forum,

http://Awww.ldbs.com/bios. htm 12/13/2004
Case 1:04-cv-10981-PBS Document 12-10 Filed 12/15/04 Page Bagé 4@f7

Northwestern University School of Law, 2000.

Member: Journal of International Law and Politics, 1978-1979;
The Association of the Bar of the City of New York (Member,
Committee on State Courts of Superior Jurisdiction, 1997-).

Email: rcohen@ldbs.com

back to top

THOMAS M. SKELTON, born Huntington, New York,
September 2, 1965; admitted to bar, 1992, New York, U.S.
District Court, Southern and Eastern Districts of New York.

Education: Providence College (B.A., 1987); Fordham University
(J.D., 1991).

Member: Fordham Law Review, 1990-1991.
Email: tskelton@ldbs.com
back to top

PETER D. ST. PHILLIP, JR. born Summit, New Jersey, October
1, 1967; admitted to bar, 1993, New Jersey; 1994,
Pennsylvania; 2004, New York, U.S. District Court, District of
New Jersey and U.S. Court of Appeals, 3rd Circuit; 1995, U.S.
District Court, Eastern District of Pennsylvania; 1997, U.S.
District Court, Southern District of New York, U.S. Court of
Appeals, 6th Circuit,

Education: Trinity College (B.A., 1999); Seton Hall University
School of Law (J.D. cum laude, 1993),

Member: Appellate Moot Court Board. Adjunct Professor of Law,
Appellate Advocacy, Seton Hall University School of Law, 1993-
1994. Staff Attorney, U.S. Court of Appeais, Third Circuit, 1993-
1994.

Email: pstphillip@idbs.com

back to top

STACEY E. BLAUSTEIN, born New York, N.Y., March 1, 1961;
admitted to bar, 1989, New York; 1992, U.S. District Court,
Southern District of New York; 1993, U.S. District Court, Eastern
District of New York; 2004, U.S. Supreme Court.

Education: Barnard College, Columbia University (B.A. 1984);
Emory University (J.D., 1988).

http://Awww.ldbs.com/bios.htm

12/13/2004
Case 1:04-cv-10981-PBS Document 12-10 Filed 12/15/04 Page Pagefsléf7

Member: The Association of the Bar of the City of New York
(Member, Committee on Federal Legisiation, 1995-1998);
Westchester Women's Bar Association; New York State and
American Bar Associations.

Email: sblaustein@Idbs.com

back to top

JEANNE D'ESPOSITO, born Nassau, New York, November 19,
1963; admitted to bar, 1991, New York; 1993, U.S. District
Court, Southem District of New York.

Education: St. John's University (B.S., summa cum laude,
1985); University of Pennsylvania (J.D., 1990).

Member: American Bar Association (Section on Litigation).

Email: jdesposito@|ldbs.com

back to top

VINCENT BRIGANTI, born Port Chester, New York, October 29,
1971; admitted to bar, 1996, Connecticut; 1997, New York: U.S.
District Court, Southern and Eastern District of New York; 2003,
U.S. Court of Appeals, Eighth Circuit.

Education: lona College (B.A., cum laude, 1993); New York Law
School (J.D., cum laude, 1996).

Member: Articles Editor, New York Law School Journal of
International and Comparative Law, 1992-1993; American Bar
Association; The Association of the Bar of the City of New York.
Email: vbriganti@idbs.com

back to top _

GEOFFREY M. HORN born New York, New York, February 5,
1967; admitted to bar, 1994, New York.

Education: Trinity College (B.A., 1989); Albany Law School of
Union University (J.D., 1993).

Recipient, West Publishing Company Prize for Achievement in
Securities Law, 1993.

Email: ghorn@Ildbs.com

back to top

http://www.ldbs.com/bios.htm 12/13/2004
Case 1:04-cv-10981-PBS Documenti2-10 Filed 12/15/04

TODD S. GARBER, bern New York, New York, October 23,
1977; admitted to bar, 2002, Connecticut; 2003, New York, U.S.
District Court, Southern District of New York and U.S. District
Court, Eastern District of New York.

Education: Cornell University (B.A. 1999); Benjamin N. Cardozo
School of Law (J.D. 2002).

Member: Articles Editor, Cardozo Journal of International and
Comparative Law, 2001-2002.

Email: tgarber@idbs.com

back to top

SCOTT V. PAPP, born Queens, New York, January 4, 1969;
admitted to bar, 2003, New York and Connecticut.

Education: State University of New York at Albany (B.A. 1992);
Pace Law School (J.D., cum laude, 2003).

Member: New York State and American Bar Associations.
Recipient: Pace Law School Clinical Award for Achievement in
Securities Arbitration Clinic, 2003.

Email: spapp@Idbs.com

back to top

DEBORAH A. ROGOZINSKI, born Riverhead, New York,
February 17, 1968; admitted to bar, 2004, New York, U.S.
District Court, Southern District of New York.

Education: Fordham University (B.A., 1990); Pace University
(J.D., 2003).

Member: Westchester and New York Bar Associations

Email: drogozinski@Idbs.com

back to top

About the Firm | Recoveries | Accolades | Our Clients | Biographies |
Current Cases | Reported Decisions | Related Sites | Contact Us |
Home

hittp://www.ldbs.com/bios.htm

Page Pht d.6f7

12/13/2004
Case 1:04-cv-10981-PBS Document 12-10 Filed 12/15/04 Page Pag Lor 4

Current Cases printer friendly format

Lowey Dannenberg is currently handling a number of diverse actions
across the United States, including newly initiated cases which may
affect your rights. Matters of current or recent interest include:

e On November 10, 2004, the U.S. District Court for the Southern
District of New York found that "LDBS, and in particular Neil
Selinger of that firm, has worked tirelessly to promote harmony
and efficiency in this sprawling litigation...LDBS has done a
superb job in its role as Liaison Counsel, conducting itself with
professionalism and efficiency....” In re WorldCom, Inc. Securities
Litigation, 2004 WL 2549682 (S.D.N.Y.)

e On April 8, 2004, the U.S. District Court for the Southern District of
Florida certified a 17-state class of indirect purchasers of third-
party payers and consumers in In re Terazosin Hydrachloride
Antitrust Litigation, 2004 U.S. dist. LEXIS 6176 (§.D. Fla.). In
approving LDBS as Co-Lead Counsel for the Class, the Court
complimented the firm's performance and experience in this hard-
fought case.

e On June 25, 2003, the firm obtained a ruling from the U.S. District
Court for the District of Delaware denying defendant
DaimlerChryslers motion for summary judgment on statute of
limitation grounds in a securities fraud action brought by LDBS’
client Glickenhaus & Co., a money management firm that was one
of Chrysler's largest shareholders. Glickenhaus & Co. v.
DaimlerChrysler AG, 2003 U.S. Dist. LEXIS 10964 (D. Del. June
25, 2003). In March 2002, LDBS successfully obtained a ruling
denying defendants’ motions to dismiss. Glickenhaus & Co. v.
DaimlerChrysler AG, 197 F. Supp. 2d 42 (D. Del. 2002). The
lawsuit, which was recently settled on terms favorable to our
clients, involved allegedly false statements to investors and
regulators concerning a purported “merger of equals” between
Daimler-Benz and Chrysler.

e On June 23, 2003, the U.S. District Court of the Northern District
of Alabama appointed LDBS as Co-Lead Counsel in In re
HealthSouth 2002 Securities Litigation, CV-02-BE-2105-S (N.D.
Ala.), a case involving one of the largest financial frauds in U.S.
corporate history.

e On June 13, 2003, the U.S. Court of Appeals for the Sixth Circuit
affirmed, 3-0, a rare plaintiffs’ judgment of per se antitrust liability
against defendants, in a class action on behalf of consumers and
third party payers against Aventis S.A. and Andrx Corp., charging
that they monopolized and unreasonably restrained trade in the
United States market for Cardizem CD, a prescription drug for
patients with angina and high blood pressure, and its generic
bioequivalents. After the district court had granted our motion for
partial summary judgment (In re Cardizem CD Antitrust Litig., 105
F. Supp. 2d 682 (E.D. Mich. 2000)), the Attorneys General of New
York, Michigan and several other states joined in the litigation and
worked cooperatively with us and our clients Aetna, Inc. and
Cobalt Corporation in prosecuting and settling the action. On
January 29, 2003, the U.S. District Court for the Eastern District of
Michigan preliminarily approved an $80,000,000 settlement. 2003
U.S. App. LEXIS 11681, 2003 Fed. App. 0195P (6"" Cir. 2003).
LDBS is lead counsel for the settlement class. LDBS attorneys
Stephen Lowey, Richard Cohen, and Peter St. Phillip have
prosecuted this case since 1998.

e On May 28, 2003, the U.S. District Court for the Southern District
of New York appointed the firm to serve as Liaison Counsel for

http://www.ldbs.com/cases.htm

12/13/2004
Case 1:04-cv-10981-PBS Document 12-10 Filed 12/15/04 Page Ragfi6f4

the more than 40 non-class lawsuits arising out of the WorldCom
fraud, the largest financial fraud in U.S. history. Neil Selinger and
others have been representing the New York City Pension Funds
in this complex, multi-party litigation.

« On April 18, 2003, the United States Court of Appeals for the
Second Circuit reversed the dismissal of a class action case
prosecuted by LDBS on behalf of U.S. heaith insurers against
Warner Lambert to recover overcharges they paid for the diabetes
drug Rezulin. The district court had held that health insurers,
which had paid $1.4 billion for the drug before it was pulled from
the market, were “essentially financial intermediaries” which
lacked standing to sue drug companies unless their insureds had
been injured by the defendant's drugs. The appeals court held that
the insurers buy the drugs and have the rights of buyers to sue to
recover any overcharges. Louisiana Blue Cross and UNITE
(textile workers union) were the plaintiffs. We believe this is the
first federal appeals court decision to hold squarely that health
insurers are the buyers of the prescription drugs their insured's
use, with the concomitant standing of buyers to sue directly for
breach of warranty, fraud and other causes of overpayment.
LDBS principal Richard Cohen argued the appeal, assisted by
Stephen Lowey and Peter St. Phillip. BDesiano v. Warner Lambert
Company, Docket No. 01-9318, 326 F.3d 339, 2003 U.S. App.
LEXIS 7418 (2d Cir. 2003).

e@ On April 11, 2003, in a case handled by LDBS principal Neil
Selinger, the Supreme Court of the State of New York, County of
New York, issued an opinion approving a $22.8 million settlement
obtained on behalf of a class of current and former holders of
credit cards issued by MBNA bank who took cash advances in
response to an MBNA promotion. The Court noted that LDBS is
an “able law firm having long-standing experience in commercial
class action litigation." Broder v. MBNA Corp., No. 605153/98
(Sup. Ct., N.Y. County, April 11, 2003)

e On February 24, 2003 the United States District Court for the
Southern District of New York (Judge Leonard Sand) denied the
motion of plaintiff MeVC Draper Fisher Jurvetson Fund |, Inc., a
NYSE-listed closed end mutual fund ("MVC"), for a preliminary
injunction to prevent or limit LDBS' client, Millenco L.P., and two
other large stockholders, from voting their shares of MVC stock
and proxies received from other shareholders, in a contested
election for control of MeVC's board of directors. Four days later,
on February 28, 2003, Millenco’s nominees won the election by a
margin of more than four-to-one, and replaced the entire board of
directors. LDBS principal! Richard Cohen argued the preliminary
injunction motion and advised Millenco in the proxy contest.
MeVC Draper Fisher Jurvetson Fund |, Inc. v. Millennium
Partners, 2003 U.S. Dist. LEXIS 3323; Fed. Sec. L. Rep. (CCH)
P92,289 (S.D.N.¥. 2003).

« In an action in which LDBS principal Richard Bemporad acted as
co-lead counsel, the Delaware Supreme Court enjoined a
proposed merger between NCS Healthcare, Inc. and Genesis
Health Ventures, Inc., accepting our argument that the NCS board
had breached its fiduciary obligations by agreeing to irrevocable
lock-up provisions. As a result of the injunction obtained by LDBS,
the class of NCS shareholders we represent was able to obtain
the benefits of a competing takeover proposal by Omnicare, Inc.
of 340% more than that offered in the enjoined transaction,
providing NCS's shareholders with an additional $99 million.
Omnicare, Inc. v. NCS Healthcare, Inc., 818 A.2d 914 (Del. 2003),

# On December 19, 2002, in a case argued by LDBS principal

http://www.ldbs.com/cases.htm 12/13/2004
Case 1:04-cv-10981-PBS Document 12-10 Filed 12/15/04 Page Phefi6r4

Richard Cohen, the Delaware Court of Chancery granted
summary judgment to our client Millenco L.P., a_ private
investment partnership, invalidating the elections of directors at
the 2001 and 2002 annual meetings of meVC Draper Fisher
Jurvetson Fund 1, Inc. The Chancery Court found that the election
of directors at those meetings was procured by the use of
materially false and misleading proxy materials which failed to
disclose relationships between certain of the directors. The court
ordered new elections by February 2003 {which Millenco won; see
above) to fill the director seats that were up for election at those
meetings. Millenco L.P. v. meVC Draper Fisher Jurvetson Fund |,
Inc., C.A. 19523, 2002 Del. Ch. LEXIS 140 (Del. Ch., Dec. 19,
2002).

« On December 18, 2002, following a multi-day evidentiary hearing
handled by LDBS principal Richard Cohen, Magistrate Judge
Streepy of the U.S. District Court for the Northern District of Ohio
issued a report and recommendation in which he recommended
that our client's motion for a preliminary injunction be granted
counting the 1.6 million proxies submitted by our client at the 2002
annual meeting of Brantley Capital Corp., thereby reversing the
results of a contested election of directors. Goldstein v. Brantley
Capital Corp., 1:02CV1903 (N.D. Ohio Dec. 18, 2002}. The case
subsequently settled on terms favorable to our client and all
Brantley shareholders.

e On December 2, 2002, in a case in which LDBS principal Neil
Selinger acted as Lead Counsel, the U.S. District Court for the
Eastern District of New York issued an opinion approving a
$27.25 million settlement obtained on behaif of our client the
Federated Kaufmann Fund and a class of purchasers of securities
of CINAR Corporation. The court found that “the quality of [Lowey
Dannenberg's] representation has been excellent. In re CINAR
Corporation Securities Litigation, Master File N. 00 CV 1086
(E.D.N.Y. Dec. 2, 2002).

In the fall of 2001, after a highly competitive selection process, Lowey
Dannenberg was selected by the Corporation Counsel of the City of New
York to serve as one of the securities litigation counsel to represent a
number of New York City pension funds (the “NYC Funds”) managed by
the Comptroller's Office and having combined assets of more than $98
billion. Recently, LDBS commenced an action on behalf of the NYC
Funds to recoup the NYC Funds' losses of more than $275 million from
their investments in securities of WorldCom, Inc. Prior to the WorldCom
matter, LDBS was retained to represent the NYC Funds in securities
litigation involving Enron, McKesson HBOC, Inc., and MicroStrategy.

In proceedings in which Lowey Dannenberg principal Richard B.
Dannenberg acted as co-counsel to a U.S. Bankruptcy Court-appointed
Estate Representative, Lowey Dannenberg obtained recoveries totaling
$106 million. In_re Reliance Securities Litigation, MDL 1304 (D. Del.
2002).

In a case argued by Lowey Dannenberg principal Neil Selinger, the
United States Court of Appeals for the Second Circuit issued a landmark
decision protecting the rights of United States citizens to sue foreign
companies who fraudulently sell their securities in the U.S. DiRienzo v.
Philip Services Corp., 294 F.3d 21 (2d Cir.), cert. denied, 123 S.Ct. 556
(Nov. 15, 2002).

In March 2002, Lowey Dannenberg acting on behalf of Millenium
Partners, the largest stockholder of MeVC Draper Fisher Jurvetson Fund

http://www .ldbs.com/cases.htm 12/13/2004
Case 1:04-cv-10981-PBS Document 12-10 Filed 12/15/04 Page IRags 46f4

|, a NYSE-traded closed end fund, successfully persuaded ISS, the
largest proxy advisory service company in the U.S., and the New York
Stock Exchange, to revise their previous approvals of MeVC's proxy
proposal to approve investment advisor contracts which would have been
renewable without shareholder approval. The result — all NYSE broker-
dealers withdrew their proxies previously given to management, and led
to the defeat of the management porposal at the shareholders’ meeting.

In August 2002, the Untied States District Court for the District of
Delaware approved a $44.5 million class action settlement paid by
DuPont Pharmaceuticals to consumers and third party payers nationwide
to settle claims of unfair marketing practices in connection with the
prescription blood thinner Coumadin. Lowey Dannenberg had been
appointed by the District Court the plaintiffs’ executive committee, as a
representative of third party payers, to prosecute the consolidated
nationwide class action. In Re Warfarin Sodium Antitrust Litigation, 2002
U.S. Dist. LEXIS 16375 (D. Del. Aug. 30, 2002),

In an action brought on behalf of a class of participants in the Computer
Associates International, Inc. pension plan, Lowey Dannenberg has
obtained a ruling from the Court denying defendants’ motion to cismiss
the class action complaint. Lowey Dannenberg persuaded the Court that
our client and other class members had properly alleged a claim uncer
ERISA for wrongful denial of benefits. Babcock v. Computer Associates
International, Inc. 2002 U.S. Dist. LEXIS 2923 (E.D.N.Y. Feb. 25, 2002).

Lowey Dannenberg was lead counsel for a class of health insurers and
other third party payers in 19 states and the District of Columbia in the
prosecution of litigation which resulted in a $25.3 million settlement with
Mytan Laboratories, Inc., settling claims for overcharges for the generic
versions of the prescription drugs lorazepam and clorazepate. Following
a contested hearing, on February 1, 2002, the United States District
Court for the District of Columbia expressly adopted Lowey
Dannenberg's arguments made at the settlement hearing and approved
the settlement in all respects. Lowey Dannenberg's clients included the
class representative Cobalt Corporation, the holding company for
Wisconsin Blue Cross. In Re Lorazepam and Clorazepate Antitrust
Litigation, MDL No. 99-1290 {TFH) (decision available at
http:/Avww.ded.uscourts. gov/99ms276hh.pdf)

Other recently concluded securities cases in which Lowey Dannenberg
acted as lead counsel include the following: In re Seagate Technology,
Inc. Shareholders Litig., (Del. Ch. 2001)($200 million settlement); In re
MedPartners Inc. Securities Litig., (N.D. Ala. 1999}($56 million
settlement); In re MobileMedia Sec. Litig.,, (D.N.J. 2000)($27 million
settlement); In re Arakis Energy Corp. Sec. Litig., (E.D.N.¥. 2000)($24
million settlement); Turabo Medical Center v. Beach, (D.P.R. 1997)\($20
million settlement); In re Kidder Peabody Sec. Litig., 94 Civ. 3954 (BSJ}
(MHD\(S.D.N.Y. 2000)($19 million settlement).

If you would like to find out more, contact us.

About the Firm | Recoveries | Accolades | Our Clients | Biographies | Current Cases | Reported
Decisions | Related Sites | Contact Us | Home

http://www.ldbs.com/cases.htm 12/13/2004
Case 1:04-cv-10981-PBS Document 12-10 Filed 12/15/04 Page tage 16f1

Accolades printer friendly format

"| want to thank Mr. Selinger again publicly. | have done it many
a time during the course of this litigation. He has performed a
marvelous service.”

In re WorldCom, Inc. Securities Litigation, 02 Civ. 3288
(DLC) (S8.D.N.Y)

"The skill, diligence and resourcefulness shown by Mr.
Dannenberg against distinguished adversaries, were of
particular importance in reaching a global settlement. . ."
Cannon v. Texas Gulf Sulphur Company (8.D.N.Y.)

"The recently concluded American Bank & Trust proceedings
were eminently successful. This was due mainly to the
professional competence exhibited by Mr. Lowey as lead
counsel..."

In the Matter of American Bank & Trust Company (Sup. Ct.
N.Y. Co.).

“Obtaining a preliminary injunction in the Burlington Northern
case is one of the more recent in a long line of coups achieved
by the small New York plaintiffs’ fim. Lowey Dannenberg has
won suits against some of the country's largest corporations and
their batteries of lawyers."

Legal Times.

"| think the class has been well-served. It was a very welli-
handled case. . ."

Gordon v. Floating Point Systems, Inc. (D. Or.)

"It appears to the Court that the Lowey Dannenberg firm has
performed its responsibilities admirably."

In re Oracle Securities Litigation (N.D. Cal.)

The attorneys of Lowey Dannenberg “are highly experienced
specialists" whose work is "of very high quality."

Winston v. Mezzanine Investments, L.P. (Sup. Ct. N.Y. Co.)
The lawyers of Lowey Dannenberg are "great attorneys" who
"make attorneys look good."

Snyder v. Nationwide Mutual Insurance Company (Sup. Ct.
Onondaga Co.)

The lawyers of Lowey Dannenberg “did highly skilled work
against highly skilled opposition — there was some high-wall
lawyering done here.”

In re Seagate Technology, Inc. Shareholders Litigation, (Del.
Ch.)

To obtain more detailed endorsements of the firm, or to obtain
copies of news articles written about Lowey Dannenberg, please
contact us.

About the Firm | Recoveries | Accolades | Our Clients | Biographies |
Current Cases | Reported Decisions | Related Sites | Contact Us |
Home

http://www. ldbs.com/accolade.htm 12/13/2004
